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 8
 9                                                                *Admitted pro hac vice

10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                               OAKLAND DIVISION
13

14   J.R.G., et al.,                                   )       CASE NO. 4:22-cv-05183-KAW
                                                       )
15                                                     )       STIPULATION FOR CONTINUANCE OF
              Plaintiffs,                              )       CASE MANAGEMENT CONFERENCE AND
16                                                     )
         v.                                                    [PROPOSED] ORDER
                                                       )
17                                                     )
     UNITED STATES OF AMERICA,                         )
18        Defendant.                                   )
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24            Plaintiffs J.R.G., et al., (“Plaintiffs”) and Defendant United States of America (“Defendant”)
25 (collectively, the “Parties”), by and through their respective counsel, hereby stipulate and agree,

26 pursuant to Civil Local Rule 7-12 and subject to the Court’s approval, as follows:

27 STIPULATION FOR CONTINUANCE OF CMC AND [PROPOSED] ORDER
     CASE NO. 4:22-CV-05183-KAW
28                                                         1
              Case 4:22-cv-05183-KAW Document 55 Filed 09/18/23 Page 2 of 3




 1          WHEREAS, on May 16, 2023, the Court issued Initial Case Management Conference Minute

 2 Order (Dkt. 49) scheduling a Further Case Management Conference for September 26, 2023 at 1:30pm.

 3          WHEREAS, since the May 16, 2023 Case Management Conference, the Parties have produced

 4 hundreds of thousands of pages of discovery as contemplated by their agreed-upon 90-Day Disclosure

 5 period (see Dkt. 48 at 6-7), and the Parties are currently reviewing those productions.

 6          WHEREAS, the Parties have no other substantive updates or issues requiring the Court’s

 7 attention at this time.

 8          NOW THEREFORE, the Parties stipulate that the Case Management Conference currently

 9 scheduled for September 26, 2023, be continued to a date on or after November 14, 2023.

10
     DATED: September 18, 2023                              Respectfully submitted,
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12                                                          ISMAIL J. RAMSEY
                                                            United States Attorney
13
                                                             /s/ Kenneth W. Brakebill
14                                                          Kenneth W. Brakebill
                                                            Kelsey J. Helland
15                                                          Assistant United States Attorneys
16
                                                            Counsel for Defendant
17

18 DATED: September 18, 2023                                LAW OFFICE OF JULIANNA RIVERA
19
                                                             /s/ Julianna Rivera
20                                                          Julianna Rivera Maul

21                                                          NORTHWEST IMMIGRANT RIGHTS PROJECT

22                                                           /s/ Matt Adams
                                                            Matt Adams
23
                                                            Aaron Korthuis
24
                                                            Counsel for Plaintiffs
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27 STIPULATION FOR CONTINUANCE OF CMC AND [PROPOSED] ORDER
     CASE NO. 4:22-CV-05183-KAW
28                                                      2
             Case 4:22-cv-05183-KAW Document 55 Filed 09/18/23 Page 3 of 3




 1                                       [PROPOSED] ORDER

 2         Pursuant to Stipulation, and good cause appearing, IT IS SO ORDERED that the Case

 3 Management Conference currently scheduled for September 26, 2023 is continued to

 4 ______________________________________________. A Case Management Statement shall be filed

 5 7 days prior to the Case Management Conference.

 6

 7 Dated: _______________________
                                                     _____________________________________
 8                                                   HONORABLE KANDIS A. WESTMORE
 9                                                   United States Magistrate Judge

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     [PROPOSED] ORDER
28 CASE NO. 4:22-CV-05183-KAW                    3
